Case 3:21-cv-01176-K Document 66-1 Filed 07/17/23                Page 1 of 1 PageID 673



                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION


JOHN T. LAMONT and
 PRESTON POULTER,
                                                   Civil Action No. 3:21-CV-1176-K
               Plaintiffs,
     v.
DEAN ASSAF A/K/A DA TALK;
VICTORIA KUNDERT A/K/A
VIKKIVERSE, AND ETHAN VAN
SCIVER,
          Defendants.




                                    [Proposed] ORDER

       The Court, having reviewed the Motion to Dismiss, Dkt No. ____, and the associated

memoranda, hereby GRANTS the motion of Defendant Ali Assaf to

       dismiss this lawsuit because the Court lacks subject matter jurisdiction, under FED. R.

CIV. PROC. 12(b)(1); and

       dismiss this lawsuit because there is left no triable issue after the FED. R. CIV. PROC.

16 pretrial conference.

So ORDERED and SIGNED at Dallas Texas, on this ____ day of __________, 2023.



                                             ___________________________________
                                             ED KINKEADE
                                             UNITED STATES DISTRICT JUDGE




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